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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS



  REGINA HARVEY,

        Plaintiff,

  v.                                                       C.A. NO.

  BRIGHAM & WOMEN’S HOSPITAL, INC.,

        Defendant.




                                               COMPLAINT

          Pursuant to Fed. R. Civ. P. 8, Plaintiff Regina Harvey brings this Complaint against

Defendant the Brigham & Women’s Hospital, Inc., stating as follows:

   I.         Parties

   1. Plaintiff Regina Harvey (“Ms. Harvey”) is an individual with a place of residence at 22

          Montrose Street, Somerville, Massachusetts.

   2. Defendant the Brigham & Women’s Hospital, Inc. (“BWH”) is a hospital with a principal

          place of business at 75 Francis Street, Boston, Massachusetts.

   II.        Jurisdiction and Venue

   3. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 because this is a

          civil action arising under the Constitution, laws, or treaties of the United States, including

          Title VII of the Civil Rights Act of 1964 § 7, 42 U.S.C. § 2000e et seq (1964).

   4. This Court has personal jurisdiction over the claims asserted because, inter alia, the

          Defendant is a corporation with a primary place of business in the Commonwealth of
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          Massachusetts and was engaged in the wrongful conduct set forth herein in this judicial

          district.

   5. Venue is appropriate in this United States District Court because the acts and omissions at

          issue occurred primarily and substantially within the judicial district of the United States

          District Court for the Eastern District of Massachusetts.

   III.       Brief Summary of Pertinent Facts

   6. Ms. Harvey is a black woman over the age of 60. As such, she is a member of two protected

          classes at issue in this matter: race and age.

   7. Ms. Harvey has been a registered nurse since 1997.

   8. In 2003, Ms. Harvey was hired by Massachusetts General Hospital. In 2006, Ms. Harvey was

          transferred to BWH.

   9. Ms. Harvey had a productive and exemplary career at BWH. This included being promoted to

          the following positions: Nurse Manager, Nurse Director, Regional Nurse Director.

   10. In May 2018, Ms. Harvey received a doctorate degree in Nursing and Leadership.

   11. Ms. Harvey received positive performance evaluations at BWH from 2003-2019.

   12. Ms. Harvey has received the following Awards/Honors:

Partners in Excellence Team Award – Outstanding Performance and Leadership                     2019
Partners Quality and Safety Award – Team Award for Addressing Social Determinants              2018
Partners in Excellence Team Award – Student Success Jobs Program Mentors                       2015
Partners in Excellence Team Award – Outstanding Performance & Commitment                       2014
Partners in Excellence Team Award – Outstanding Performance & Commitment                       2013
Partners in Excellence Team Award – Partners Community Health Ambassadors                      2012
Partners in Excellence Team Award – Student Success Jobs Program Mentors                       2011
Partners in Excellence Team Award – Outstanding Performance & Commitment                       2009
Partners in Excellence Award – Outstanding Performance & Commitment                            2008
Blue Cross Blue Shield Foundation, Mass. Institute of Community Health Leadership              2007




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13. Ms. Harvey has also been an active participant for social justice and good in her community.

   She has been on the following community boards/affiliations:

The Home for Little Wanderers, Volunteer                                     2015-2019
Business Association Professional Association of Jamaica Plain, Member       2011-2020
Boston Healthcare Preparedness Coalition Charter, Member                     2011-2020
Boston University Health Science, Preceptor and Mentor                       2010-2019
ABCD Services/Boston Clinical Advisory Council Member                        2009-2019
Community Action Network – Boston Public Health Commission Member            2009-2019
Health Care Connection, Preceptor and Mentor                                 2008-2019
Brigham & Women’s Hospital – Student Success Jobs Program, Preceptor
                                And Mentor                                   2008-2019

14. In 2018, Ms. Harvey’s work experience (and life) changed when there was a change in senior

   leadership at BWH. Among other things, this resulted in Danika Medina (“Medina”), a white

   woman in her forties, transitioning into the position of Executive Director Ambulatory

   Services.

15. Ms. Harvey directly reported to the Executive Director of Community Health, but had a

   reporting structure to Medina for Nursing Leadership.

16. Medina subjected Ms. Harvey to racial animosity and racial discrimination, both direct and

   indirect.

17. Medina continuously treated Ms. Harvey differently from white employees based on her race.

   She engaged in slights and insults that were often subtle but were pervasive and prevented Ms.


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   Harvey from being accepted as a valued member of the team and purposefully prevented her

   from reaching her full potential at BWH.

18. One such example was when Medina requested Ms. Harvey to complete an SBAR report. The

   SBAR document was submitted to Medina by email and in person. Medina never

   acknowledged the email communication during a June 18, 2020, in-person meeting. Medina

   did not read the document, but she contemptuously flung the unread document across her desk

   and proceeded to inform Ms. Harvey about the need for a performance improvement Plan

   (“PIP”). This conduct, and the PIP, was unexpected and unjustified. Indeed, Ms. Harvey was

   previously told by her executive director that she would not receive a corrective action for the

   incident on June 3, 2020.

19. During the June 18 meeting, Medina nonetheless presented a PIP to Ms. Harvey. Medina

   proceeded to read the portions of the PIP to Ms. Harvey in a racially demeaning manner. At

   the end of presenting the PIP, Medina wrote on the PIP that Ms. Harvey and Medina mutually

   agreed to this PIP which was false. Ms. Harvey never received a copy of the PIP during the

   meeting. Medina provided the PIP to Ms. Harvey as she exited the office, and Medina

   instructed Ms. Harvey to send the PIP to her Human Resources Business Partner. Ms. Harvey

   submitted the PIP to the Human Resources Business Partner, the Executive Director of

   Community Services.

20. Preparing and publishing the PIP was a pretext to provide cover for Medina’s

   discrimination against Ms. Harvey.

21. Another example of discrimination occurred during 1-1 meetings between Ms. Harvey and

   Medina. Medina would often ask what Ms. Harvey’s plans were over the next 2-3 years.




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   Ms. Harvey’s response would be that she planned on working at BWH. This line of

   questioning became more frequent during 2019-2020.

22. For example, Medina invited the Ambulatory Nursing Directors to a local restaurant to

   celebrate her title change to Executive Director. Meanwhile, Medina mentioned to Ms.

   Harvey publicly that a job opportunity was available at another institution.

23. Medina mentioned to Ms. Harvey, in the presence of several colleagues, that there was an

   opening at BMC for a particular position. Medina was publicly encouraging Ms. Harvey to

   leave BWH and undermining her to her colleagues.

24. Another example of Medina’s discrimination was in her recommendation of disparate pay for

   Ms. Harvey compared to non-black employees.

25. Ms. Harvey became aware that other black employees suffered discriminatory treatment from

   Medina as well.

26. Medina created and reinforced the implementation of race stereotypes at work despite the

   qualifications of Ms. Harvey and despite the fact that she was performing her job at an

   exemplary level for over a decade without recognition.

27. Medina continually devalued Ms. Harvey, her opinions, and her role within the program in a

   racially charged manner. Again, this purposefully prevented Ms. Harvey from fulfilling her

   role at BWH.

28. Medina purposefully and wrongfully prevented Ms. Harvey from earning equitable pay and

   title designations throughout her tenure at BWH.

29. For instance, Ms. Harvey was due for her annual merit (October 2020) raise and evaluation,

   but she received a PIP from Medina instead. Due to this action, Ms. Harvey was prevented

   from receiving equitable pay or advancement within any Partners’ hospital affiliates.

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30. The discrimination became so pervasive and intolerable for Ms. Harvey that her mental health

   deteriorated and she as forced to take medical leave of absence on July 2, 2020.

31. Medina made it clear before Ms. Harvey’s leave (by regularly contacting Ms. Harvey before

   her leave) that the discrimination would persist upon her return from leave.

32. During Ms. Harvey’s last few days prior to leave, Medina bombarded Ms. Harvey with

   telephone calls and emails requesting information which exacerbated her already intense

   emotional distress.

33. All of the foregoing increased Ms. Harvey’s stress and further caused emotional distress and

   a deterioration of her mental health during her medical leave.

34. The egregious conduct of Medina continued a pattern of discrimination and a purposeful intent

   to drive Ms. Harvey from her position.

35. The conduct evidenced an active effort to constructively discharge Ms. Harvey by making the

   continued performance of her duties intolerable and impossible.

36. An objective assessment of the conditions under which Ms. Harvey was expected to work upon

   her return from leave clearly reflect that the conditions were purposefully made so difficult as

   to be considered legally and factually intolerable.

37. For the benefit of her health and well-being, Ms. Harvey advised BWH that she was unable to

   tolerate the continued work environment and discrimination.

38. BWH, through Medina, refused to rectify the situation in a purposeful effort to force Ms.

   Harvey’s resignation.

39. On October 1, 2020, Ms. Harvey was forced to resign due to the conduct of Medina and her

   refusal to address the discrimination she directed at Ms. Harvey.




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      40. Under the circumstances set forth herein, BWH constructively discharged Ms. Harvey and her

         termination was a direct result of the discrimination set forth herein.




IV.      Causes of Action

                                                  COUNT I
                      (Violation of Title VII of the Civil Rights Act of 1964 v. BWH)

      41. Ms. Harvey repeats and realleges each of the foregoing allegations and incorporates them

         herein by reference.

      42. On February 11, 2021, Ms. Harvey timely presented her claims of discrimination to the

         Massachusetts Commission Against Discrimination which correspondingly filed the claim

         with the Equal Employment Opportunity Commission (“EEOC”).

      43. The EEOC assigned Charge No. 16C-2021-01627 to the claim.

      44. Thereafter, Ms. Harvey engaged in the administrative process through the MCAD and

         EEOC.

      45. The EEOC issued a Right to Sue Letter to Ms. Harvey on March 13, 2024, informing Ms.

         Harvey that she was required to file this lawsuit within 90 days, which she has done. See

         Exhibit 1.

      46. Ms. Harvey has properly exhausted her administrative requirements at the EEOC and the

         matter, therefore, is now properly before this Court.

      47. Title VII of the Civil Rights Act of 1964 (42 U.S.C., 2000e et seq.) (“Title VII”) makes it

         unlawful for an employer “to discriminate against any individual with respect to [her]

         compensation, terms, conditions, or privileges of employment,” 42 U.S.C. § 2000e–2(a)(1),

         or “to limit, segregate, or classify [her] employees ... in any way which would deprive or tend
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   to deprive any individual of employment opportunities or otherwise adversely affect [her]

   status as an employee,” 42 U.S.C. § 2000e–2(a)(2), based on a protected characteristic such

   as race.

48. Title VII prohibits the types of willful discriminatory employment practices in which BWH

   here engaged, including harassment in the form of creating and maintaining a hostile and

   abusive work environment, failing to fairly and equitably compensate and promote Ms.

   Harvey, engaging in discriminatory retaliation against Ms. Harvey, and constructively

   discharging Ms. Harvey.

49. The conduct that BWH engaged in, and to which it subjected Ms. Harvey, was continuous

   and was so severe and pervasive that it altered the conditions of Ms. Harvey’s employment

   and created an abusive work environment.

50. The environment created by BWH was both objectively and subjectively offensive.

51. The environment created by BWH was one that a reasonable person would find hostile or

   abusive.

52. The environment created by BWH was one that Ms. Harvey in fact did perceive to be hostile

   and abusive.

53. As set forth above, the frequency of the discriminatory conduct was continuous and the

   severity of the conduct was objectively hostile, abusive and humiliating.

54. BWH’s discriminatory conduct unreasonably interfered with Ms. Harvey’s work

   performance.

55. The harassment to which Ms. Harvey was subjected was of a kind and to a degree that any

   reasonable person would have felt that it affected the conditions of her employment.




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56. Ms. Harvey suffered an accumulated effect from the repeated verbal attacks, consistent

   intimidation, and open hostile work environment to which she was subjected. BWH’s

   persistent conduct amounted to racial discrimination.

57. It is clear from the consistency of the harassing conduct that Ms. Harvey endured that its

   purpose was to create a hostile work environment.

58. The conduct set forth herein undermined Ms. Harvey’s ability to succeed at her job and was

   designed to lead to her constructive discharge and it did lead to her constructive discharge.

59. Title VII also contains an anti-retaliation provision that BWH violated. Under the statute, it

   is unlawful “for an employer to discriminate against any of his employees ... because [the

   employee] has opposed any practice made an unlawful employment practice by this

   subchapter[.]” 42 U.S.C. § 2000e-3(a).

60. BWH engaged in such retaliation after Ms. Harvey complained of discrimination and after

   she filed a complaint at the MCAD and EEOC.

61. As a proximate result of the BWH’s willful, discriminatory conduct in violation of Title VII,

   Ms. Harvey suffered harm.

62. Ms. Harvey is entitled to recover all remedies set forth in Title VII, including but not limited

   to compensatory damages, front and back pay, punitive damages, emotional distress damages,

   interest, and attorney’s fees

                                      DEMAND FOR JURY

   Ms. Harvey demands a trial by jury on all counts of this Complaint that are so triable.

   WHEREFORE, Ms. Harvey requests that this Honorable Court:

   (1) Enter Judgment in her favor on all counts of this Complaint and award all damages, costs,

        interest and attorney’s fees recoverable at law and in equity on each count;

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      (2) Enter a Judgment against BWH on all counts of this Complaint, find that the Defendants

          knowingly and willfully discriminated against Ms. Harvey, and award Ms. Harvey all

          damages, costs, interest and attorney’s fees that are recoverable at law and in equity;

      (3) Award all damages, including but not limited to, compensatory damages, front pay, back

          pay, wages, emotional distress, punitive damages, costs and attorney’s fees to which Ms.

          Harvey is entitled at law and in equity;

      (4) Order reinstatement of Ms. Harvey to her position at BWH; and

      (5) Award such other and further relief as this Court finds just and equitable.



                                            PLAINTIFF REGINA HARVEY,

                                            By her attorney,

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